           Case 2:07-cr-00096-KJM-EFB Document 316 Filed 04/26/22 Page 1 of 2


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   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:07-CR-00096-KJM
12                                Plaintiff,             STIPULATION REGARDING BRIEFING
                                                         SCHEDULE FOR DEFENDANT’S RENEWED
13                         v.                            MOTION FOR COMPASSIONATE RELEASE;
                                                         FINDINGS AND ORDER
14   MARK ANDERSON,
15                               Defendant.
16

17                                               STIPULATION
18          Plaintiff United States of America (the “government”), by and through its counsel of record, and
19 the defendant, by and through his counsel of record, hereby stipulate as follows:

20          1.     On April 12, 2022, the defendant filed a statement of supplemental information in
21 support of his renewed request for compassionate release. ECF No. 313.

22          2.     Counsel for the government requests additional time to obtain relevant records from the
23 Federal Bureau of Prisons and draft a potential response to the defendant’s supplemental filing. The

24 defendant does not oppose the government’s request.

25          3.     Accordingly, by this stipulation, the parties jointly request that the Court set the
26 following schedule:

27                 a)      The government’s response to the defendant’s supplemental filing, if any, shall be
28          filed on or before April 29, 2022;

      STIPULATION RE BRIEFING SCHEDULE FOR RENEWED       1
      MOTION FOR COMPASSIONATE RELEASE
          Case 2:07-cr-00096-KJM-EFB Document 316 Filed 04/26/22 Page 2 of 2


 1                 b)     The defendant’s reply to the government’s response, if any, shall be filed on or

 2         before May 6, 2022.

 3

 4         IT IS SO STIPULATED.

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 6   Dated: April 18, 2022                                  PHILLIP A. TALBERT
                                                            United States Attorney
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 8                                                          /s/ SAM STEFANKI
                                                            SAM STEFANKI
 9                                                          Assistant United States Attorney

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11   Dated: April 18, 2022                                  /s/ STEPHANIE ADRAKTAS
                                                            STEPHANIE ADRAKTAS
12                                                          Counsel for Defendant
                                                            MARK ANDERSON
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16                                                   ORDER
17         IT IS SO ORDERED this 26th day of April, 2022. The Court sets the following schedule:
18         a)      The government’s response to the defendant’s supplemental filing, if any, shall be filed
19 on or before April 29, 2022; and

20         b)      The defendant’s reply to the government’s response, if any, shall be filed on or before
21 May 6, 2022.

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      STIPULATION RE BRIEFING SCHEDULE FOR RENEWED      2
      MOTION FOR COMPASSIONATE RELEASE
